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IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE DISTRICT OF DELAWARE

 

BELCHER PHARMACEUTICALS, LLC
Plaimiff,
v. § c. A. NO. 13-960-LPS-CJB

INTERNATIONAL MEDICATION SYSTEMS,
LIMITED,

Defendant,

 

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MEMORANDUM OPINION

March 3], 2019
Wilmington, Delaware

 

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Plaintiff Belcher Pharrnaceuticals, LLC (“Plaintiff’ or “Belchei"’) asserts in its June 28,
2018 Cornplaint that Defendant lnternationai l\/Iedication Systeins, LLC (“Defendant” or “IMS”)
infringes Plaintiff’s U.S. Patent No. 9,283,197 (“the ’197 patent”). (D.I. 1) (“Cornplaint” or
“Compl.”) Defendant “filed a NDA [New Drug Application] under 21 U.S.C. § 355(13)(2) of the
Hatch“Waxnian Act (rnaking it a ‘505(b)(2) application’), for 0.1 nig/rnL epinephrine injections
(‘IMS’s NDA’),” Which Plaintiff asserts is an artificial act of infringement under 35 U.S.C.
§ 271(e)(2). (D.I. 9 at 2) Pendiiig before the Court is Defendant’s motion to dismiss under
Federal Rule of Civil Procedure 12(b)(6). (D.I. 8) After considering the paities’ briefing and
supplemental briefing (D.I. 9, 15, 19, 27, 28), the Court Will deny Defendant’s motion
I. BACKGROUND

U.S. Patent Application No. 14/460,845 Was filed on August 15, 2014, and the ’197
patent issued as a result on March 15, 2016. (D.I. 1-1 at 1) The ’197 patent Was issued to Jugal
K. Taneja and assigned to Plaintiff. (D.I. 15 at 4) Of the three independent and four dependent
claims, oniy Clairns 6 and 7 are asserted, Which the Cornplaint alleges are infringed by
Defendant’s NDA product

IMS filed its paper NDA in Februai‘y, 2018 for 0.1 mg/rnL epinephrine injections. (D.I. 9
at 2) This filing Was made pursuant to the Drug Price Coinpetition and Patent Terni Restoi'ation
Act of 1984 (tlie “Hatch-Waxnian Act”), specifically 21 U.S.C. § 355(b)(2), vvhich covers
“drug[s] for Which the investigations . . . relied upon by the applicant for approval of the
application Were not conducted by or for the applicant and for Which the applicant has not

obtained a right of reference or use from the person by or for Whorn the investigations Wei'e

 

 

 

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conduc:ted.”E Pursuant to § 355(b)(2)(A)(iv) (“Paragraph IV”), a § 355(13)(2) applicant must
submit to the U.S. Food and Drug Adrninistration (“FDA”) “a certification, in the opinion of the
applicant . . . With respect to each patent Which claims the drug for Which such investigations
were conducted . . . that such patent is invalid or Will not be infringed by the manufacture, use, or
sale of the new drug for Which the application is subniitted.” Defendant submitted a Paragraph
IV certification With respect to the ’ 197 patent, a patent Which is listed in the publication
Approved Drug Products with Thercipeutic Equi`valence Evalucitions (“Orange Book”). (D.I. 9 at
2)

Plaintiff alleges Defendant’s NDA filing Was an act of infringement under 21 U.S.C.
§ 27 l (e)(2)(A), Which provides: “lt shall be an act of infringement to submit an application under
. . . section 505(1))(2) of [the Food, Drug, and Cosmetic Act] for a drug claimed in a patent or the
use of Whicli is claimed in a patent.” Defendant sent notice of its Paragraph IV certification to
Plaintiff on May 16, 2018, Which opened a 45~day Windovv in Which Plaintiff could, by filing
suit, obtain an automatic 30~rnontli stay of FDA approval of Defendant’s NDA. See 21 C.F.R.
§ 314.107(b)(3)(i)(A). The parties negotiated an offer of confidential access (“OCA”) by
Plaintiff to lMS’s NDA, pursuant to Which Defendant produced a copy of its entire NDA
submission to Plaintiff on June 7, 2018, three Weel<s prior to the 45-day deadline (D.I. 9 at 3)

Plaintiff filed its Coinplaint on lune 28, 2018.

 

1 This pi'ocedure, under § 355(b), is similar to but distinct from that governing Abbi'eviated New
Drug Applications (“ANDA”), Which are governed by 21 U.S.C. § 355(i). Drugs for Which
approval is sought via a c‘paper NDA” pursuant to § 355(b), as here, require additional safety and
efficacy clinical studies By contrast, drugs for Which approval is sought via an ANDA pursuant
to § 355@) require a demonstration only of bioequivalence.

 

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II. LEGAL STANDARDS

Evaluating a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) requires
the Couit to accept as true all material allegations of a complaint See Sprtii`ll v. Gilli`s, 372 F.3d
218, 223 (3d Cir. 2004). “The issue is not Wliether a plaintiff will ultimately prevail but Whether
the claimant is entitled to offer evidence to support the claims.” fn re Burlington Coat Faci‘ory
Sec. Lii‘i'g., 114 F.3d 1410, 1420 (3d Cir. 1997) (internal quotation marks oniitted). Thus, the
Court may grant such a motion to dismiss only if, after “accepting all well~pleaded allegations in
the complaint as true, and viewing them in the light most favorable to plaintiff, plaintiff is not
entitled to relief.” Maio v. Aema, Inc., 221 F.3d 472, 481-82 (3d Cir. 2000) (internal quotation
marks omitted).

A well-pleaded complaint must contain more than mere labels and conclusions See
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007). A plaintiff must plead facts sufficient to show that a claim has substantive plausibility
See Johnson v. Ci`ty ofShelby, 135 S. Ct. 346, 347 (2014). A complaint may not be dismissed,
however, for imperfect statements of the legal theory supporting the claim asserted See id. at
346.

“'1`0 survive a motion to dismiss, a civil plaintiff must allege facts that ‘raise a right to
relief above the speculative level on the assumption that the allegations in the complaint are true
(even if doubtful in fact).’” Vi`ctauli'c Co. v. Tiemarz, 499 F.3d 227, 234 (3d Cir. 2007) (quoting
Twombly, 550 U.S. at 555). A claim is facially plausible “When the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

 

misconduct alleged.” Iqbal, 556 U.S. at 678. At bottom, “[t]he complaint must state enough

facts to raise a reasonable expectation that discovery will reveal evidence of [each] necessary

 

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element” of a plaintiffs claim. Wilkerson v. New Media Tech. Charter Sch. Iric., 522 F.3d 315,
321 (3d Cir. 2008) (internal quotation marks omitted).

The Court is not obligated to accept as true “bald assertions,” Morse v. Lower Mert'on
Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997) (intei'nal quotation marks omitted), “unsupported
conclusions and unwarranted inferences,” Schuylkill Energy Res., Inc. v. Pa. Power & Lz'ght Co.,
113 F.3d 405, 417 (3d Cir. 1997), or allegations that are “self»evidently false,” Nami‘ v. Faiiver,
82 F.3d 63, 69 (3d Cir. 1996).
III. DISCUSSION

rl`he pertinent allegations of infringement in the Complaint are as follows:

17. lMS submitted NDA No. 21163 to the Food and
Drug Administration (“FDA”) seeking approval to engage in the
commercial manufacture, use, or sale of the [ll\/IS] NDA Product.

18. By letter dated l\/Iay 16, 2018 (“Notice Lettei"’), . . .
IMS notified Belcher that ll\/IS had submitted NDA No. 211363 to
the FDA seeking approval to engage in the commercial
manufacture, use, or sale of the NDA Product before the expiration

of the ’197 Patent.

19. ln the Notice Letter, Defendant notified Plaintiff
that, as a part of IMS’s NDA, they had filed a certification . . .
(“Pai‘agraph lV Certification”) With respect to the ’197 Patent.

20. Tlie manufacture of IMS’s NDA Product is covered
by Claims 6 and 7 of the ’ 197 Patent.

23. By submitting NDA No. 211363 to the FDA to
obtain approval under the Federal Food, Drug, and Cosmetic Act
to engage in the commercial manufacture, use, offer for sale, sale,
and/or importation of the NDA Product throughout the United
States prior to the expiration of the ’197 Patent, Defendant
committed an act of infringement of the ’197 Patent under 35
U.S.C. §§ 27l(a), 271(b), and/or 271(0).

 

 

 

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(Compl.)2

Defendant argues that “Belcher’s Complaint is fatally flawed” because it “merely states
legal conclusions without alleging any facts that could make a plausible case for patent
infringement against IMS.” (D.I. 9 at 3) Defendant contends that the mere allegation that “[t]he
manufacture of IMS’s NDA Product is covered by Clainis 6 and 7 of the ’ 197 Patent” (Compl. at
1|20) is conclusory and provides insufficient notice of Plaintiff’s claim. According to IMS,
“‘There needs to be some facts alleged that articulate Wliy it is plausible that the other party’s
product infringes that patent claim -- not just the patentee assei'ting, in conclusory fashion, that it
is so.”’ (D.I. 9 at 6) (quoting North Star Innovations, Inc. v. Micron Tech., Inc., 2017 WL
5501489, at *2 (D. Del. Nov. 16, 2017)) In Defendant’s view, Plaintiff “fails to describe any
facts regarding how IMS’s NDA infringes the asserted claims.” (Id. at 7) (citing SIPCO, LLC v.
Sfreei‘li'ne, Inc., 230 F. Supp. 3d 351, 353 (D. Del. 2017)).

Underlying Defendant’s contentions is the contention that Plaintiff’s Complaint should be
treated like any other complaint for patent infringement, and not given special treatment - even
at the pleading stage - under § 27l(e)(2). (See D.I. 9 at 75 D.l. 19 at 2, n.2) (“‘Section
271(e)(2)(A) defines the filing of an ANDA as an act of infringement, but it does not alter the
underlying patent infringement analysis.”’) (quoting Bayei-' Schering Pharma AG' v. Ltipiri, Ltd. ,
676 F.3d 1316, 1325 (Fed. Cir. 2012)) ln esseiice, Defendant’s position is that while the Hatch-
Waxman Act creates subject matter jurisdiction over the “artificial act of infringement” of filing
a paper NDA (or ANDA), actual infringement still must be pled with particularity to survive a

Rule l2(b)(6) motion. Furtlier, meeting this requirement means complying with the “mandate{]”

 

2 As Plaintiff points out, “none of the allegations are made based on ‘information and belief.”’
(D.I. 27 at 3) While the Complaint does not make this clear, evidently Plaintiff intends to allege
both literal infringement and infringement under the doctrine of equivalents (See i.'d.)

 

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of the Supreme Court in Iqbal and Twombly to include in a complaint “‘factual content that
allows the court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.”’ (D.I. 19 at 3) (quoting Iqbal, 556 U.S. at 678) To Defendant, “Supreme Court
precedent is clear, and given Belcher’s full access to all the documents it needs to allege
infringement, Belcher’s fact-free Complaint should be dismissed.” (Ici. at 1)

Plaintiff responds that only the asserted claims and the artificial act of infringement need
be pled, “because ‘Congress defined infringement in a special way to create an ‘artificial’ act of
infringement under § 271(e)(2): submitting an ANDA.”’ (D.l. 15 at 5-6) (quotiiig Bristol-Myers
Squibb Compariy v. Mylan Pharm. Inc., 2017 WL 3980155, at * 10 (D. Del. Sept. ll, 2017))
Plaintiff contends it provided Defendant with fair and sufficient notice of infringement by
describing Defendant’s NDA submission and alleging that the NDA product will infringe Claims
6 and 7. (Id. at 6) The Complaint also references Plaintiff’s pre-Complaint review of
Defendant’s NDA and Paragraph lV notice lettei', from which it may be reasonably inferred that
Plaintiff s holds a good faith belief in its ability to prove actual infringement (Id.)
Fundamentally, in the view of Plaintiff, given all of this exchange of information, “Defendant
should be well aware of the basis of the Complaint.” (Id.)

The Court agrees with Plaintiff ln the Court’s view, both the language and the purpose
of the Hatch-Waxman Act establish that a plaintiff in receipt of a paragraph IV certification

providing notice of the filing of an ANDA (or, as here, a paper NDA) 3 relating to one of the

 

3 Defendant argues that its paper NDA should be treated differently than a typical ANDA
application “Belcher fails to take into account that ll\/IS filed a 505(b)(2) application, which is
an NDA not an ANDA. Unlike an ANDA [under 505(})], a 505(b)(2) application is necessarily
different by statute, and it requires additional clinical studies to confirm that the product is safe
and effective.” (D.I. 19 at 4) The Court disagrees, concluding instead that the same pleading
standard applies to both 505(j) and 505(b)(2) suits Both are statutorily-created artificial acts of
infringement, and both serve the same purpose of facilitating the speedy and cost-effective

 

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plaintiffs Orange Book-listed patents may state a claim for infringement by alleging its interest
in the patent, its receipt of the paragraph IV certification, the filing of the ANDA or NDA, and
its contention that the defendant’s proposed product will infringe Under the Act, filing an
ANDA or paper NDA constitutes an artificial but justiciable act of patent infringement See 21
U.S.C. § 271(e)(2)(A); Glaxo, Inc. v. Novopharm, Ltd., 110 F.3d 1562, 1569 (Fed. Cir. 1997)
(“Thus, § 271(e)(2) provided patentees with a defined act of infringement sufficient to create
case or controversy jurisdiction to enable a court to promptly resolve any dispute concerning
infringement and validity.”); Bristol-Myers Squibb, 2017 WL 3980155, at *7 (“What, then, does
Hatch~Waxman define as an act of infringement? The submission of an ANDA to the FDA, if
the ANDA seeks approval before the expiration of a patent.”).

As the Supreme Court has described, the Act created a unique action to facilitate the
speedy and cost-effective entrance of generic drug to the market:

The function of the paragraphs in question is to define a new (and
somewhat aitificial) act of infringement for a very limited and
technical purpose that relates only to certain drug applications As
an additional means of eliminating the de facto extension at the
end of the patent term in the case of drugs, and to enable new
drugs to be marketed more cheaply and quickly, § 101 of the 1984
Act amended § 505 of the FDCA, 21 U.S.C. § 355, to authorize
abbreviated new drug applications (ANDA’s), which would
substantially shorten the time and effort needed to obtain
marketing approval . . . In addition, § 103 of the 1984 Act
amended § 505(b) of the FDCA, § 355(b), to permit submission of
a so-called paper new drug application (paper NDA), an
application that relies on published literature to satisfy the
requirement of animal and human studies demonstrating safety and
effectivenessl See § 355(b)(2). Like ANDA’s, paper NDA’s
permit an applicant seeking approval of a generic drug to avoid the
costly and time-consuming studies required for a pioneer drug.

 

market-entry of a generic drug, while at the same time protecting valuable patent rights, by
providing a mechanism for relatively expeditious pre-launch resolution of patent disputes

 

 

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Eli' Li'lly & Co. v. Medfrom`c, Inc., 496 U.S. 661, 676 (1990).

This purpose is advanced by allowing plaintiffs in this type of case to rely on the
sufficiency of pleading the artificial act of infringement allowing the particularized theory of
infringement to be developed throuin discovery and other phases of the case. A plaintiff in
receipt of a paragraph IV certification has an extremely limited tinie, just 45 days, in which to
decide whether (and, if so, Where and against whom), to file suit, if it is to obtain the benefit of
the automatic stay of FDA approval4 lt will not always be reasonable to expect a plaintiff in
such a position to develop the level of specificity Defendant asks the Court to impose. Relatedly,
although in this case the parties negotiated Plaintiff" s pre-Complaint confidential access to
Defendant’s NDA filing, such an accommodation will not always occur, and it is not a
requirement of the l-Iatch-Waxman Act. For this reason, as well, Plaintiff may not know much
about the details of a proposed product and may, again, not be able to plead infringement with
specificity Nor, of course, may the plaintiff go out and purchase the accused product and test it
for itself since, in these cases, the product does not yet actually exist (and if samples have been
created, they caimot, by law, be available for purchase). Finally, because the defendant in these
cases actually triggers the litigation - by giving notice to the plaintiff that defendant has applied
for regulatory approval of a drug that is similar to a drug that the plaintiff listed in the Orange
Book as being covered by the asserted patent - the defendant already knows at least some of the

reason why the plaintiff may plausibly believe that its patent also covers defendant’s proposed

 

4 Almost without exception, the NDA or ANDA filings are quite lengthy - here, Defendant’s
ANDA was more than 4,000 pages (See D.I. 15 at 6) Further, sometimes as happened here, a
sizeable portion of the 45-day window in which to file suit is devoted to attempting to negotiate
the terms of an OCA. Additionally, it is not uncommon for multiple ANDAS to be filed on the
same patent at the same time, putting a plaintiff in the position of having to make decisions about
launching multiple litigations, all within the same (or substantially the same) 45-day window.

 

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product See generally Bristof-Myers Squibb, 2017 WL 3980155, at *7-8 (“Congress created this
particularized framework in order to trigger expedited patent litigation between branded and

generic drug manufacturers before the generic drug is launched into the market to compete with

 

the branded drug. . . . Thus, an applicant submits an ANDA with full knowledge of the effect of
its application and with the objective of marketing its drug product in the event that the
application is approved.”); Par Pharm., Irzc. v. Hospfra, Inc., 2018 WL 3343238, at *4 (D. Del.
May 11, 2018) (“[T]lie court must accept as true the allegations of the complaint, which state that
the Hospira ANDA Product meets each limitation of the patents-in-suit.”).

In the Court’s view, Plaintiff s pleading here complies with the requirements of Iqbal and
Twombly as applied to the unique context of a Hatch-Waxman claim for patent infringement ln
context, the Complaint does “allow[] the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

This holding is not in conflict with “tlie patentee’s burden of proving ultimate
infi'ingement,” which “is not met by the filing of the ANDA” and “is the same as it is in any
other infringement suit.” Glaxo, Inc., 110 F.3d at 1569-70. The parties have not drawn the
Couit’s attention to any case (nor has the Court itself found one) that says that what is required
for pleading infringement in the Hatch-Waxman context is also the same as in any other
infringement suit. Hence, Plaintiff’s allegations that Defendant committed an artificial act of
infringement by filing its paper NDA, and that Defendant’s proposed drug product will infringe
Claims 6 and 7 of the’l97 patent (an Orange Book-listed patent), are sufficient to survive
Defendant’s motion to dismiss

Finally, the Court is unpersuaded by Defendant’s suggestion that the reason for the lack

of specificity in Plaintiff s Complaint - and the futility that would mar any amended complaint

 

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the Court might contemplate permitting Plaintiff to file - is that Plaintiff knows and understands
that “any theory of infringement would necessarily invalidate the ’197 patent.” (D.l. 9 at 1)
Defendant asserts:

lf IMS’s manufacture and sale of injectable epinephrine
formulations would infringe the patent, then what Belcher claims
to be its invention is simply not iiew. Any arguments that Belcher
makes regarding how ll\/lS’s NDA products infringe the ’197
patent would actually be admissions that the ’ 197 patent is invalid
in view of IMS’s manufacture and sale of inj ectable epiriephrine
formulations since at least 2010, long before the 2014 patent filing
date.

(Ici.) The Court, of course, is not in a position to evaluate the merits of Defendant’s invalidity
defense at the motion to dismiss stage. As Plaintiff explains, many of the premises of
Defendant’s argument implicate factual disputes For example:

Defendant’s 2010 epinephrine formulation documentation .
. . has not been shown to be the formulation used in Defendant’s
NDA Product because Defendant’s only evidence proffering such
arguments includes a blank batch record as well as a package insert
that does not show the manufacturing details of the formulation . . .

. . . [Nor] has [it] been shown that the 2010 Formulation
was the subject of a commercial offer for sale or that it was ready
for patenting

Lastly, Defendant has not shown by clear and convincing
evidence that the 2010 Formulation would render the ’ 197 Patent
invalid as obvious [for reasons including secondary considerations
of nonobviousness].

 

 

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(D.I. 15 at 2-3)5 l\/loreover, application of the Court’s claim construction decision from a related
case, see Belcher Pharm., LLC v. Hospira Inc., C.A. No. 17-775-LPS D.l. 96, 97 (D. Del. Sept.
28, 2018), to the infringement and invalidity contentions here also presents factual disputes
l\/lore fundamentally, the Court presumes (as it is permitted to do, on the record before it)
that Plaintiff s counsel are well aware of their obligations including under Federal Rule of Civil
Procedure ll, and therefore presumes Plaintiff has a non-frivolous, good faith basis for its
allegation of infringement Should this turn out not to be correct, Defendant will have an
opportunity to seek appropriate relief But dismissal of the Complaint on the basis of the

pending motion is not warranted6

 

5 The defenses asserted here by ll\/lS are different than those asserted in the cases to which IMS
compares the instant case, (See D.l. 9 at 12) ln Amgen Inc. v. Coherus Biosciences fnc., 2018
WL 1517689 (D. Del. 2018) (“Amgeri”), and Cumberlmid Pharmaceuticals Inc. v_ SagentAgila
LLC, 2013 WL 5913742 (D. Del. 2013) (“Cumberland”), the Court granted motions to dismiss
infringement claims brought pursuant to the Hatch-Waxman Act where it was clear fi‘om the face
of the complaint and the other materials the Court was permitted to consider that, respectively,
the plaintiff’ s claims lacked merit based on prosecution history estoppel, see Amgen at *4 & n.5
(“{T]he facts in the prosecution history here are undisputed . . . [T]he Court has sufficient
context in this case to make a decision of law that prosecution history estoppel applies . . .
[O]nly a legal dispute lis presented] that, in the Court’s view, turns on the clear and
unambiguous prosecution history.”), or based on application of a claim construction the Court
viewed as not reasonably disputable, see Cumberlcmd at *2 (noting plaintiff admitted “EDTA is
a chelating agent and that Sargent’s product includes EDTA” and holding: “No claim
construction is necessary in order to determine that lthe claim term] ‘free from a chelating agent’
means that a claimed composition may not include a chelating agent”). The situation presented
by the instant case, in which Defendants’ asserted defenses (i.e., anticipation, obviousness)
appear to involve disputed facts, is quite different

 

 

6 Nor does the Couit find that the most reasonable exercise of its discretion is to convert the
motion to dismiss into a summary judgment motion, as Defendant asks the Court to do as an
alternative to granting its motion. (See, e. g., D.l. 28 at 6) Should either party wish the Court to
consider a summary judgment motion (early, or at the conclusion of all fact and expert
discovery), it should include such a proposal in the forthcoming proposed scheduling order the
Court will be directing the parties to submit

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IV. CONCLUSION

For the foregoing reasons, the Court will deny Defeiidants’ motion to dismiss An

appropriate Order follows

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